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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA

                                      Case No.: 1:25-cv-20757-JB


 JANE DOE,
         Plaintiff,


 v.


 STEVEN K. BONNELL II,
         Defendant.
                                  /

      DEFENDANT’S EVIDENTIARY OBJECTIONS TO: (I) DECLARATION OF JANE
           DOE; AND (II) DECLARATION OF HANNAH DANIELS BROOKS

         Defendant Steven K. Bonnell II (“Bonnell”) hereby objects to and requests that the Court

 strike the following portions of the declarations Plaintiff submitted in support of her Motion for

 Preliminary Injunction. [ECF Nos. 21-1 & 21-2.]

 I.      OBJECTIONS TO DECLARATION OF JANE DOE [ECF No. 21-1]

        Material Objected To:                    Grounds for Objection:          Ruling on the
                                                                                 Objection:
  1.    ¶ 4 (“I expressed to him . . .           Inadmissible hearsay. Fed. R.
        ‘[P]ublicly I’m okay with people         Evid. 802
        knowing we’re hanging out but if
        anyone asks questions . . . I [sic]
        rather deny . . . .”)
  2.    ¶ 6 (“I reiterated my privacy concerns   Inadmissible hearsay. Fed. R.
        again in March of 2023 . . . .He         Evid. 802.
        denied telling anyone other than his
        wife . . . .”)
  3.    ¶ 7 (“The caption on the Video . . .     Declarant lacks personal
        identify [sic] both ‘Destiny’ and        knowledge. Fed. R. Evid. 602.
        ‘Pxie.’”)
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  4.   ¶ 7 (“one of the sexually explicit       Inadmissible hearsay. Fed. R.
       videos . . . was uploaded on to [sic]    Evid. 802.
       the website Kiwifarms. The Video
       was also shared on multiple other
       pornography websites . . . .”)
  5.   ¶ 8 (“expressing my horror that he       Inadmissible hearsay. Fed. R.
       had shared the Video”)                   Evid. 802. Declarant lacks
                                                personal knowledge. Id. R.
                                                602
  6.  ¶ 8 (“Bonnell admitted that he had        Inadmissible hearsay. Fed. R.
      shared the Video without my               Evid. 802. Lacks foundation
      knowledge or consent, with a random       and declarant lacks personal
      fan by the screen name Rose. Bonnell      knowledge. Id. R. 602.
      informed me that Rose was one of his
      fans with whom he had been
      messaging but had never met. He did
      not know her real name or her real
      age.”)
  7. ¶ 9 (“‘Ughhhh . . . I’m super sorry,       Inadmissible hearsay. Fed. R.
      there’s literally no excuse.’ I then      Evid. 802; Hearsay within
      asked him to delete any and all           hearsay. Id. R. 805.
      Videos that he had of me.”)
  8. ¶ 10 (“In or about January 2025, one       Inadmissible hearsay. Fed. R.
      of my followers informed me that          Evid. 802; Lacks foundation.
      Bonnell had sent the Video to my          Id. R. 602.
      follower’s sister about two months
      earlier.”)
  9. ¶ 11 (“Shortly after that, Bonnell         Inadmissible hearsay. Fed. R.
      went on the attack. He told his tens of   Evid. 802; Lacks foundation.
      thousands of followers that I was only    Id. R. 602.
      interested in money, and that I was       Lacks relevance. Id. R. 402.
      extorting him.”)
  10. ¶ 12 (“Commencing at minute 53 of         Inadmissible hearsay. Fed. R.
      the recording, Bonnell tells his          Evid. 802. Lacks foundation
      followers intimate sexual details         and declarant lacks personal
      about me . . . . He even posted screen    knowledge. Id. R. 602.
      shots . . . . I believed these messages   Improper authentication of
      would be kept private . . . . Instead     documents. Id. R. 901.
      Bonnell shared them with tens of
      thousands of people.”)




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  11. ¶ 13 (“On February 21, 2025, Bonnell        Lacks relevance. Fed. R.
      tells his entire Discord community          Evid. 402. Inadmissible
      that I was dating my supervisor at my       hearsay. Id. R. 802; Hearsay
      prior job and that the supervisor was       within hearsay. Id. R. 805.
      ‘like 25 years older.’ This was a           Lacks personal knowledge
      deliberate untruth meant only to            and foundation. Id. R. 602.
      harass me.”)                                Improper lay opinion. Id. R.
                                                  701.
  12. ¶ 13 (“I had told Bonnell that I dated      Lacks relevance. Fed. R.
      this man briefly . . . . There was no       Evid. 402. Inadmissible
      reason for Bonnell to believe that the      hearsay. Id. R. 802; Lacks
      man was ever my supervisor . . . . I        personal knowledge and
      believe that Bonnell said this untruth      foundation. Id. R. 602.
      deliberately to retaliate against me for    Improper lay opinion. Id. R.
      initiating this lawsuit.”)                  701.
  13. ¶ 14 (“The thought that tens of             Lacks foundation. Fed. R.
      thousands of people . . . have seen the     Evid. 602.
      Video . . . . Despite efforts to have
      the Video removed from the different
      sites, they are still there and available
      to the public . . . .”)
  14. ¶ 16 (“In or around the end of              Inadmissible hearsay. Fed. R.
      January, 2025, approximately fifteen        Evid. 802. Lacks foundation
      women reached out to me and told me         and declarant lacks personal
      that they received sexually explicit        knowledge. Id. R. 602.
      images from Bonnell of other women          With respect to any alleged
      without the other women’s consent.          content apart from the Video,
      Numerous women . . . have recently          the statements are irrelevant.
      come forward and publicly alleged           Id. R. 402.
      that Bonnell has released sexually
      explicit videos of them without their
      consent. These images were then
      posted on different pornography
      websites without their consent. A
      woman with the screen name
      Chaeiry, posted on X that she recently
      found out that Bonnell had secretly
      made an unauthorized audio
      recording of their sexual interaction,
      and then had distributed it to multiple
      people without her knowledge or
      consent.”)




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  15. ¶ 17 (“As early as January 21, 2025,    Lacks foundation and
      aware of the impending lawsuit and      declarant lacks personal
      potential criminal investigation,       knowledge. Fed. R. Evid. 602.
      Bonnell starts destroying evidence,     Improper authentication of
      including deleting messages between     documents. Id. R. 901. With
      me and him.”)                           respect to any alleged content
                                              apart from the Video, the
                                              statements are irrelevant. Id.
                                              R. 402.
  16. ¶ 18 (“Almost all of the women who      Inadmissible hearsay. Fed. R.
      informed me that they had received      Evid. 802. Lacks foundation
      sexually explicit images from Bonnell and declarant lacks personal
      of other women without the other        knowledge. Id. R. 602. With
      women’s consent . . . also tell me that respect to any alleged content
      Bonnell deleted their chat threads      apart from the Video, the
      after January 2023.”)                   statements are irrelevant. Id.
                                              R. 402.
  17. ¶ 19 (“A streamer by the name of        Inadmissible hearsay. Fed. R.
      Ahsoka Bun-o messaged me recently Evid. 802. Hearsay within
      and informed me that Bonnell had        hearsay. Id. R. 805. Lacks
      deleted all messages between them       foundation and declarant
      regarding his non-consensual sharing lacks personal knowledge. Id.
      of videos: ‘I had messaged destiny in R. 602. With respect to any
      the past and was sent videos of him     alleged content apart from the
      with women. I didn't recognize any of Video, the statements are
      the people in the videos bar one that   irrelevant. Id. R. 402.
      seems to have included Melina           Improper authentication of
      [Destiny’s ex-wife], but I assumed it   documents. Id. R. 901.
      was consensual. I don't know if it
      helps at all but some proof I did
      converse with him and that now
      there's no messages.’ See
      https://imgur.com/CtBX1Oi.”)
  18. ¶ 19 (“In February, Bonnell also        Lacks foundation and
      deleted all of his direct messages with declarant lacks personal
      a follower by the screen name of        knowledge. Fed. R. Evid. 602.
      pskodynamic, with whom he had           Improper authentication of
      shared videos of other women            documents. Id. R. 901. With
      without their consent. See              respect to any alleged content
      https://imgur.com/lZcLl0E.”)            apart from the Video, the
                                              statements are irrelevant. Id.
                                              R. 402.




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 II.    OBJECTIONS TO DECLARATION OF HANNAH D. BROOKE [ECF No. 21-2]

        Material Objected To:                    Grounds for Objection:          Ruling on the
                                                                                 Objection:

  19.   ¶ 3 (“In or about August 2023, I         Lacks relevance. Fed. R.
        started watching Steven Bonnell,         Evid. 402.
        II’s (aka ‘Destiny’) live streams and
        youtube videos and engaged as a
        fan.”)
  20.   ¶ 4 (“In or about April 2024, I          Lacks relevance. Fed. R.
        started exchanging direct messages       Evid. 402.
        with Destiny on the Discord
        platform. Our messages included
        some private sexual content.”)
  21.   ¶ 5 (“In or about November 2024, I       Lacks foundation. Fed. R.
        became aware that a sexually             Evid. 602.
        explicit video . . . that included
        Destiny and another streamer . . .
        had been published on the internet.”)
  22.   ¶ 6 (“On January 9, 2025, I reached      Lacks relevance. Fed. R.
        out to Destiny via direct messages       Evid. 402 & 403. Despite
        on Discord, and asked how he was         using the same defined term,
        doing amidst all of the controversy      the video referenced in this
        and uproar regarding his non-            statement is not the Video.
        consensual sharing of the Video.”)       The declarant also lacks
                                                 personal knowledge with
                                                 respect to the alleged
                                                 distribution of any content,
                                                 including the Video. Fed. R.
                                                 Evid. 602.
  23.   ¶ 7 (“On January 9, 20205 . . .          Lacks relevance. Fed. R.
        Destiny offered to send me the           Evid. 402 & 403. Despite
        Video: ‘ooooof I mean I guess now        using the same defined term,
        that some shit has leaked . . . if you   the video referenced in this
        want videos of me . . . I’ve got         statement is not the Video.
        ‘em.’”)                                  Inadmissible hearsay. Fed. R.
                                                 Evid. 802. Hearsay within
                                                 hearsay. Id. R. 805.




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  24.   ¶ 8 (“I responded . . . ‘Hahahaha         Lacks relevance. Fed. R.
        nooo don’t show me that . . . those       Evid. 402 & 403. Despite
        are super private and I can’t even        using the same defined term,
        imagine how it feels to have              the video referenced in this
        something so private be so public         statement is not the Video.
        even IF you are poly and very sexual      Inadmissible hearsay. Fed. R.
        in general.”)                             Evid. 802. Hearsay within
                                                  hearsay. Id. R. 805..
  25.   ¶ 9 (“About two weeks later, I took       Lacks relevance. Fed. R.
        screen shots of the above chat thread     Evid. 402. Improper
        with Destiny, and some other              authentication of documents.
        messages between us as well.”)            Id. R. 901.
  26.   ¶ 10 (“Shortly thereafter . . . another   Lacks relevance. Fed. R.
        streamer with the screen name             Evid. 402. Lacks foundation.
        JSTLK on Discord published . . .          Id. R. 602. Improper
        chat threads between Destiny and          authentication of documents.
        other people including my chat            Id. R. 901.
        thread with Destiny containing the
        above quoted messages.”)
  27.   ¶ 11 (“Sometime in early February         Lacks relevance. Fed. R.
        2025, I realized that Destiny deleted     Evid. 402. Lacks personal
        all of his messages to me . . . .”)       knowledge. Id. R. 602.




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  Dated: April 25, 2025                    Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 25, 2025, a true and correct copy of the foregoing

 was served on all parties via transmission of Notices of Electronic Filing generated by CM/ECF

 and via electronic transmission to counsel of record for these parties.


                                                       By:     /s/ Robert L. Raskopf
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